                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE Division


UNITED STATES OF AMERICA
                                                       JUDGMENT OF ACQUITTAL
       V.
                                                       CASE NUMBER: 3:12-cr-00254-MOC
C'Dar Baun




         The Defendant was found not guilty on January 10, 2013 as to counts 1 and 2. IT IS ORDERED
that the Defendant is acquitted, discharged and any bond exonerated.




                                      Signed: October 21, 2016




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